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 4    Las Vegas, Nevada 89101
      (702) 388-6336
 5
                      UNITED STATES DISTRICT COURT
 6
                           DISTRICT OF NEVADA
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 9    UNITED STATES OF AMERICA,                 )
                                                ) 2:08-cr-288-PMP-RJJ
10                        Plaintiff,            )
                                                )
11           vs.                                ) GOVERNMENT’S UNOPPOSED
                                                ) REQUEST FOR EXTENSION OF TIME TO
12    LADON McCLELLAN,                          ) FILE RESPONSE TO PETITION FOR WRIT
                                                ) OF CORAM NOBIS
13           Defendant.                         )
                                                )
14

15            The United States of America, by and through Daniel G. Bogden, United States

16    Attorney, and Adam M. Flake, Assistant United States Attorney, respectfully requests that

17    this Court enter an order allowing the Government until October 11, 2012, to respond to

18    Defendant Ladon McClellan’s petition for writ of coram nobis. This request is based on the

19    following:

20            1.     On August 14, 2012, this Court ordered the Government to file a response

21                   to McClellan’s petition for writ of coram nobis by September 11, 2012.

22            2.     The undersigned needs more time to become familiar with the record in this

23                   case and to research the legal issues McClellan’s petition raises in order to

24                   properly formulate a response, and therefore requests a 30-day extension.

25            3.     On September 5, 2012, the undersigned spoke with McClellan’s counsel,

26                   Conor Flynn, who stated that he has no opposition to this request.
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 1          4.     The undersigned avows that this extension is not sought for purposes of

 2                 delay and anticipates that the Government’s response will be filed with in the

 3                 additional time requested in this motion.

 4          5.     McClellan is not in custody.

 5          DATED: this 5th day of September 2012.

 6                                                Respectfully submitted,

 7
                                                  DANIEL G. BOGDEN
 8                                                United States Attorney

 9
                                                         /s/ Adam M. Flake
10                                                ADAM M. FLAKE
                                                  Assistant United States Attorney
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                      UNITED STATES DISTRICT COURT
 1
                           DISTRICT OF NEVADA
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 4    UNITED STATES OF AMERICA,                )
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 5                        Plaintiff,            )
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                                                ) REQUEST FOR EXTENSION OF TIME TO
 7    LADON McCLELLAN,                          ) FILE RESPONSE TO PETITION FOR WRIT
                                                ) OF CORAM NOBIS
 8          Defendant.                          )
                                               )
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10          Based on the pending application of the Government, and good cause appearing,

11          IT IS THEREFORE ORDERED that the that the Government’s response to

12    Defendant’s petition for writ of coram nobis is due October 11, 2012.

13          DATED: this _____ dayofofSeptember,
                         7th day      September2012.
                                                2012.

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15                                               ________________________________
                                                 UNITED STATES DISTRICT JUDGE
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